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UNITED STATES DISTRICT COURT
DISTRICT oF MARYLAND

cHAMBERs oF ' 101 wEsT LoMBARD sTREET
J. FREDERICK MOTZ BALTn\/loRE, MAR¥LAND 21201
UNlTED srATEs Dlsrrucr JUDGE (410) 962-0732
(410) 962~2693 FAx
September 7, 2016

MEMO TO COUNSEL RE: Federal Trade Commission v. Midway Industries Limited
Liability Co., et al.
Civil No. JFM-l4-2312

Dear Counsel:

I have reviewed the memorandum submitted in connection with the motion to intervene
filed by Wells Fargo Bank and We]ls Fargo Advisors. The motion (document 218) is denied. l
am satisfied that the interest of the Wells Fargo entities can be fully protected by considering any
claims that it files as a creditor during the receivership process

Despite the informal nature of this letter, it should be flagged as an opinion and docketed

as an order.
g Very truly yours,
/'~W`Wz
J. Frederick Motz
United States District Judge
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